      Case 2:15-cv-01772-VEH Document 8 Filed 11/12/15 Page 1 of 1            FILED
                                                                     2015 Nov-12 PM 02:55
                                                                     U.S. DISTRICT COURT
                                                                         N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

IBRAHIM SABBAH, et al.,          }
                                 }
     Plaintiffs,                 }
                                 }        CIVIL ACTION NO.
v.                               }        2:15-CV-1772-WMA
                                 }
NATIONWIDE MUTUAL INSURANCE      }
COMPANY, et al.,                 }
                                 }
     Defendant.


                                 ORDER

     On November 11, 2015, defendants filed a motion to dismiss.

(Doc. 7).   If plaintiffs wish to respond they shall do so on or

before November 27, 2015.



     DONE this 12th day of November, 2015.




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                                         WILLIAM M. ACKER, JR.
                                         UNITED STATES DISTRICT JUDGE
